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   Pg: 22 Ln: 24 - Pg: 23 Ln: 21



      Annotation:
        22:24     Q.     (BY MR. PODOLL)    Okay.    And what was the

            25    relationship between First Western Capital Management

        23: 1     and the accounts -- fiduciary accounts that First

             2    Western Trust Bank was administering?

             3                     MR. STERN:    Objection, beyond the scope

             4    of the topics.

             5               A.    So I would say there were two primary

             6    relationships:      So First Western Capital Management

             7    managed the funds in the First Western Funds Trust,

             8    which were used in client allocations within the bank.

             9               Q.    (BY MR. PODOLL)    Okay.

            10               A.    One -- one capacity or relationship.     In

            11    addition to that, for accounts that were -- where it

            12    made sense and had a reasonable size, we utilized,

            13    within the bank, First Western Capital Management to

            14    run what we call separately managed accounts, so those

            15    would be client accounts that owned individual

            16    securities and not the funds.        First Western Capital

            17    Management acted as a subadvisor to the bank for those

            18    client accounts, those subaccounts.

            19               Q.    Okay.   And was -- were the Flecks'

            20    accounts within that group of subaccounts?

            21               A.    They were not.



   Pg: 25 Ln: 19 - Pg: 26 Ln: 8




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      Annotation:
        25:19     BY MR. PODOLL)         Okay.   And this applied

            20    to all of the mutual funds that were managed by First

            21    Western Capital Management?

            22               A.    That's correct.      There were only three.

            23               Q.    And First Western Funds Trust was one?

            24                     MR. STERN:      Objection, beyond the scope.

            25               A.    No.     First Western Funds Trust was the

        26: 1     trust which held the three funds.

             2               Q.    (BY MR. PODOLL)      Got it.     Which were the

             3    three funds?

             4                     MR. STERN:      Objection, beyond the scope

             5    of the topics.

             6               A.    There's the First Western Short

             7    Duration, First Western Core Fixed Income, First

             8    Western High Yield.



   Pg: 28 Ln: 11 - 20



      Annotation:
        28:11     Q.     Okay.    How would you describe it?

            12    That's more important than how I would describe it.

            13               A.    Yeah.     So I had oversight responsibility

            14    for the trust and investment management activity

            15    across the offices within the bank.

            16               Q.    Okay.     So maybe we can get at it this

            17    way:     In 2018, how many offices across the bank were

            18    engaged in portfolio management or investment of trust

            19    funds?

            20               A.    Approximately ten.




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   Pg: 30 Ln: 18 - Pg: 31 Ln: 3



      Annotation:
        30:18     Q.     Any assistance provided by the Aspen's

            19    office was tangential to the portfolio management of

            20    the Flecks' account by the Denver Tech Center office;

            21    is that correct?

            22               A.   I think in a -- in a technical context

            23    of portfolio management, which I think is what you're

            24    asking me, the decision -- the discretion that the

            25    portfolio manager had to make trades and ensure the

        31: 1     allocation of the account was properly managed, that

             2    was done outside of the Aspen office by a portfolio

             3    manager in the Tech Center.



   Pg: 31 Ln: 23 - Pg: 32 Ln: 4



      Annotation:
        31:23     Q.     Okay.    But as far as a hands-on

            24    investment, the moneys in the Flecks' accounts, that

            25    was handled by the Denver Tech Center office, correct?

        32: 1                A.   That portfolio manager had discretion

             2    over the Flecks' account, that's correct.

             3               Q.   And this would be Doug Barker, correct?

             4               A.   That is correct.



   Pg: 33 Ln: 25 - Pg: 34 Ln: 9



      Annotation:




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        33:25          Q.    Okay.    And these were fiduciary

        34: 1     accounts, correct?

             2                 A.     That is correct.

             3                 Q.     Okay.     And from May of 2018 through the

             4    end of 2018, on how many occasions did you -- did you

             5    meet with the Flecks?            I'm talking about May of 2018

             6    to December of 2018.

             7                 A.     Me personally meet with them?

             8                 Q.     Yes.

             9                 A.     I don't believe I did.



   Pg: 34 Ln: 10 - 20



      Annotation:
        34:10     Q.        Okay.    How many times did you review the

            11    Flecks' accounts between May of 2018 and December of

            12    2018?

            13                 A.     I would say approximately monthly.

            14                 Q.     Okay.     And what exactly did you do?

            15                 A.     Look at the performance report.

            16                 Q.     Where -- where -- which office do you

            17    work out of, Mr. Sawyer?

            18                 A.     The downtown Denver office, 1600 -- or

            19    1900 -- wait, is it 1600?            1900 -- 1900.   I'm sorry,

            20    Rich.       Downtown.       I'll get you the address.



   Pg: 35 Ln: 4 - 15



      Annotation:
        35: 4     Q.        So, basically, when you say "manage the




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             5    account" -- or you, you know, looked at the accounts,

             6    what did you do?       Did you pull them up on a computer

             7    screen in the Denver office?       Did you go to the Tech

             8    Center and meet with Mr. Barker?       What was your

             9    methodology?

            10             A.    Just pull it up on my PC.

            11             Q.    Okay.     About once a month.   And

            12    what type of review did you do?       What were you looking

            13    for?

            14             A.    Generally, when I would do that, I would

            15    just look at the allocation and the performance.



   Pg: 35 Ln: 16 - 19



      Annotation:
        35:16     Q.     Okay.   And about how long would a review

            17    like that take you to look at the allocation and the

            18    performance?

            19              A.    Ten to 15 minutes.



   Pg: 38 Ln: 7 - 19



      Annotation:
        38: 7     And when Mr. Barker met with you, what

             8    was -- can you tell me basically what was the purpose

             9    and the scope of those meetings?

            10              A.    General conversations on what was going

            11    on within his activities at work, how clients'

            12    accounts were performing, how client meetings were

            13    going, any new business opportunities that he might be




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            14    working on, any -- any issues that he was coming

            15    across that I could help resolve for him, just general

            16    kind of managerial support.

            17                     But he did not report to me, just to be

            18    clear.     I don't want to misconstrue that by using

            19    "managerial support."



   Pg: 38 Ln: 20 - Pg: 39 Ln: 9



      Annotation:
        38:20     Q.      Okay.   Who did he report to?

            21               A.    Tim Stack.     He's our market president

            22    for the Tech Center office.

            23               Q.    Okay.     Did Mr. Stack report to you?

            24               A.    No.

            25               Q.    Who did he report to?

        39: 1                A.    At that time, Josh Wilson, regional

             2    president for the bank.

             3               Q.    Did he report to you?

             4               A.    No.     He reports to the CEO.

             5               Q.    Okay.     And who is the CEO?

             6               A.    Scott Wylie.

             7               Q.    Okay.     And did you report to the CEO as

             8    well?

             9               A.    I do, and I did, yes.



   Pg: 39 Ln: 16 - 18



      Annotation:
        39:16       I have supervisory responsibility for the




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            17    activities within the scope of my role, but they do

            18    not report to me, those individuals.



   Pg: 40 Ln: 7 - 12



      Annotation:
        40: 7     Q.    Okay.   Did you -- did you -- on how many

             8    occasions do you recall discussing the Flecks' account

             9    during the meeting with Mr. Barker between May of 2018

            10    and December of 2018?

            11             A.    Offhand, I don't have a recollection of

            12    those specific conversations.




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